Case 17-42571-rfn11 Doc 90 Filed 08/04/17                   Entered 08/04/17 15:23:24     Page 1 of 47



Vickie L. Driver
Texas Bar No. 24026886
Christina W. Stephenson
Texas Bar No. 24049535
HUSCH BLACKWELL LLP
2001 Ross Avenue, Suite 2000
Dallas, Texas 75201
Phone: (214) 999-6100
Fax: (214) 999-6170
Email: vickie.driver@huschblackwell.com
Email: crissie.stephenson@huschblackwell.com

COUNSEL FOR THE DEBTORS

                           UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

IN RE:                                                      §      CHAPTER 11
                                                            §
FOUNDATION HEALTHCARE, INC.,                                §      CASE NO. 17-42571-rfn-11
                                                            §      Lead Case
                           DEBTOR.                          §
                                                            §      Complex Case
----------------------------------------------------------- §      Jointly Administered

                                                            §
IN RE:                                                      §      CHAPTER 11
                                                            §
UNIVERSITY GENERAL HOSPITAL, LLC, §                                CASE NO. 17-42570
                                                            §
                           DEBTOR.                          §      Complex Case
                                                            §      Jointly Administered
----------------------------------------------------------- §      Under Lead Case
 

            NOTES REGARDING AMENDED SCHEDULES OF ASSETS AND
         LIABILITIES AND AMENDED STATEMENT OF FINANCIAL AFFAIRS

       On June 21, 2017 (the “Petition Date”), Foundation HealthCare, Inc., and University
General Hospital, LLC each filed voluntary petitions for relief under chapter 11 of title 11 of
the United States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for the
Northern District of Texas, Fort Worth Division (the “Bankruptcy Court”). The Debtors have
requested, and the Bankruptcy Court has so ordered, that their cases be jointly administered
under Case No. 17-42571.

        Since that date, with the assistance of its Bankruptcy Court approved advisors, the
Debtors determined certain changes should be made to the original Schedules of Assets and
Liabilities and the Statement of Financial Affairs, and prepared the annexed Amended Schedules


                                                        1
Case 17-42571-rfn11 Doc 90 Filed 08/04/17             Entered 08/04/17 15:23:24        Page 2 of 47



of Assets and Liabilities (the “Schedules”) and the Amended Statement of Financial Affairs (the
“SOFAs” and together with the Schedules, the “Schedules and SOFAs”) pursuant to section 521
of the Bankruptcy Code and Rule 1007 of the Federal Rules of Bankruptcy Procedure. The
Schedules and SOFAs are unaudited and do not purport to represent financial statements
prepared in accordance with Generally Accepted Accounting Principles in the United States
(“GAAP”), and they are not intended to be fully reconciled to the financial statements. The
original Schedules and SOFAs were filed on July 6, 2017, at Docket Nos. 36 and 37 and Nos. 42
and 43, respectively.

Although the Debtors’ advisors and remaining officers, directors and contract employees have
made every reasonable effort to ensure that the Schedules and SOFAs are accurate and
complete based on information that was available to them at the time of preparation, subsequent
information or discovery may result in material changes to these Schedules and SOFAs, and
inadvertent errors or omissions may have occurred. Subsequent receipt of information or an
audit may result in material changes in financial data requiring amendment of the Schedules
and SOFAs. These notes regarding each of the Debtor’s Schedules and SOFAs (the “Notes”)
comprise an integral part of such Debtor’s Schedules and SOFAs and should be referenced in
connection with any review of the Schedules and SOFAs. Nothing contained in the Schedules
and SOFAs shall constitute a waiver of any rights or claims of the Debtor against any third
party, or in or with respect to any aspect of these chapter 11 cases.

       1.      Amendments. The Debtors reserve the right to amend or supplement the
 Schedules and SOFAs as necessary or appropriate.

         2.     Asset Presentation. Most assets and liabilities of the Debtors are shown on the
 basis of the book value in the respective Debtor’s books and records, as of December 31,
 2016, and not on the basis of current market values of such interest in property or liabilities;
 provided, however, that some adjustments have been made when the information was
 available subsequent thereto. In certain instances, where book value is known to be materially
 inaccurate, the Debtor listed some assets and liabilities as having an “unknown” value. The
 Debtors reserve their right to amend or adjust the value of each asset or liability set forth
 herein.

         3.      Liabilities. The Debtors sought to allocate liabilities between the prepetition
 and postpetition periods based on the information and research that was conducted in
 connection with the preparation of the Schedules and SOFAs. As additional information
 becomes available and further research is conducted, the allocation of liabilities between
 prepetition and postpetition periods may change. The Debtors also reserve the right to change
 the allocation of liability to the extent additional information becomes available.

         4.      Causes of Action. Despite reasonable efforts, the Debtors may not have
 identified or set forth all of its causes of action against third parties as assets in its Schedules
 and SOFAs. The Debtors reserve any and all of their rights with respect to any causes of
 action they each may have, and neither these Notes nor the Schedules and SOFAs shall be
 deemed a waiver of any such causes of action.




                                                  2
Case 17-42571-rfn11 Doc 90 Filed 08/04/17             Entered 08/04/17 15:23:24        Page 3 of 47



         5.      Claim Description. Any failure to designate a claim on the Schedules or
 SOFAs as “disputed,” “contingent” or “unliquidated” does not constitute an admission by the
 respective Debtor that such claim is not “disputed,” “contingent” or “unliquidated.” The
 Debtors reserve the right to dispute, or to assert offsets or defenses to, any claim reflected on
 its Schedules and SOFAs as to amount, liability, priority, secured or unsecured status, or
 classification, or to otherwise designate any claim as “disputed,” “contingent” or
 “unliquidated” by filing and serving an appropriate amendment. The Debtors also reserve the
 right to amend their Schedules or SOFAs as necessary or appropriate.

       6.       Property and Equipment. The Debtors have not completed a physical inventory
of any of their owned equipment, merchandise or other physical assets and any information set
forth in the Schedules and SOFAs may be over or understated. Further, nothing in the
Schedules or SOFAs (including, without limitation, the failure to list leased property or
equipment as owned property or equipment) is or shall be construed as an admission as to the
determination of legal status of any lease (including whether any lease is a true lease or
financing arrangement), and the Debtors reserve all of their rights with respect to such issues.
Notwithstanding the foregoing, an inventory of supplies for UGH was conducted in December
2016.

         7.     Insurance. The Debtors have, in the past, maintained a variety of insurance
 policies including property, general liability, and workers’ compensation policies and other
 employee- related policies. The Debtors’ interest in these types of policies is limited to the
 amount of the premiums that the Debtor has prepaid, if any, as of Petition Date. To the best of
 each Debtor’s knowledge, no such prepayments exist. The Debtors do reserve all rights to
 refunds of any overpayments of premiums paid on any insurance policies.

        8.        Insiders. In the circumstances where the Bankruptcy Schedules require
information regarding insiders or officers and directors, included herein are the relevant Debtor’s
(a) directors (or persons in similar positions) and (b) officers. The listing of a party as an insider
is not intended to be nor should it be construed as a legal characterization of such party as an
insider and does not act as an admission of any fact, claim, right or defense and all such rights,
claims and defenses are hereby expressly reserved. Further, employees have been included in
this disclosure for informational purposes only and should not be deemed to be “insiders” in
terms of control of the Debtor, management responsibilities or functions, decision-making or
corporate authority or as otherwise defined by applicable law, including, without limitation, the
federal securities laws, or with respect to any theories of liability or for any other purpose.

       9.       Schedule A/B—Real and Personal Property. As of the Petition Date, certain
equipment and property was foreclosed upon, repossessed, or picked up by various parties.
While the Debtors have attempted to identify each such situation, that analysis is made
complicated by the fact that the UGH Debtor is no longer in possession of that leased premises.
To the extent any Debtor learns of a piece of property that has been subject to a repossession or
foreclosure impacting the listing in this schedule, such Debtor reserves the right to amend such
Schedule and SOFA reflecting same.




                                                  3
Case 17-42571-rfn11 Doc 90 Filed 08/04/17           Entered 08/04/17 15:23:24       Page 4 of 47



        10.      Schedule D—Creditors Holding Secured Claims. Except as specifically stated
herein, real property lessors, utility companies and other parties which may hold security
deposits have not been listed on Schedule D. The Debtors have not included on Schedule D all
parties that may believe their claims are secured through setoff rights, deposits posted by, or on
behalf of, the Debtors, or inchoate statutory lien rights. While reasonable efforts have been
made, determination of the date upon which each claim in Schedule D was incurred or arose
would be unduly and cost prohibitive, and therefore, the Debtors may not list a date for each
claim listed on Schedule D.

         11.     Schedule F—Creditors Holding Unsecured Nonpriority Claims. The liabilities
identified in Schedule F are derived from the respective Debtor’s books and records, which may
or may not, in fact, be completely accurate, but they do represent a reasonable attempt by each
Debtor to set forth its unsecured obligations. Accordingly, the actual amount of claims against
each Debtor may vary from the represented liabilities. Parties in interest should not accept that
the listed liabilities necessarily reflect the correct amount of any unsecured creditor’s allowed
claims or the correct amount of all unsecured claims. Similarly, parties in interest should not
anticipate that recoveries in these cases will reflect the relationship of aggregate asset values
and aggregate liabilities set forth in the Schedules and SOFAs. Parties in interest should consult
their own professionals or advisors with respect to pursuing a claim. Although the Debtors and
their professionals have generated financials the Debtors believe to be reasonable, actual
liabilities (and assets) may deviate from the Schedules and SOFAs due to certain events that
may occur throughout the duration of these chapter 11 cases.

         12.    Schedule H – Codebtors. It is possible that some of the Debtors affiliates,
including one another in some instances, may be viewed by a particular creditor as being co-
obligors on such debt. However, none of those affiliates are viewed by the Debtors as having
any ability to pay those debts and many are owned in whole or in part by one of the Debtors,
FHI. Finally, it would be unduly burdensome and of relatively little to no value to the Debtors’
estates to attempt to delineate those co-obligors for each debt. Consequently, the Debtors have
not listed those as co-debtors on Schedule H.

        13.    Statement of Financial Affairs 19(d) – Financial Statements. The Debtors have
each undertaken reasonable efforts to identify all financial institutions, creditors and other
parties to whom a financial statement was issued within two years immediately preceding the
Petition Date. The Debtors reserve their rights to subsequently supplement or amend Statement
19d upon discovery of additional information.

       14.     Statement of Financial Affairs 4 and 30 – Payments within One Year to Insider.
The information available at the time of filing has been included; however, information
regarding stock options, redemptions, and potential loan reductions were unavailable and have
not been included.

        15.     Specific Notes. These General Notes are in addition to the specific notes set
forth in the individual Schedules and SOFAs. Disclosure of information in one Schedule,
SOFA, exhibit, or continuation sheet even if incorrectly placed, shall be deemed to be disclosed
in the correct Schedule, SOFA, exhibit or continuation sheet.


                                                4
Case 17-42571-rfn11 Doc 90 Filed 08/04/17        Entered 08/04/17 15:23:24     Page 5 of 47




        16.   Totals. All totals that are included in the Schedules represent totals of the
liquidated amounts for the individual schedule for which they are listed.

       17.    Unliquidated Claim Amounts. Claim amounts that could not be fairly quantified
by the Debtors are scheduled as “unliquidated” or “unknown.”

        18.     General Reservation of Rights. The Debtors specifically reserve the right to
amend, modify, supply, correct, change or alter any part of their Schedules and SOFAs as and
to the extent necessary as they each deem appropriate.




                                             5
            Case 17-42571-rfn11 Doc 90 Filed 08/04/17                                                                   Entered 08/04/17 15:23:24                                  Page 6 of 47
 Fill in this information to identify the case:

 Debtor name            Foundation Healthcare, Inc.

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF TEXAS

 Case number (if known)               17-42571-mxm11
                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        2,729,772.85

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        2,729,772.85


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        1,250,000.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $        1,149,739.16

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        2,661,197.54


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           5,060,936.70




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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            Case 17-42571-rfn11 Doc 90 Filed 08/04/17                                 Entered 08/04/17 15:23:24               Page 7 of 47
 Fill in this information to identify the case:

 Debtor name         Foundation Healthcare, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)         17-42571-mxm11
                                                                                                                                   Check if this is an
                                                                                                                                    amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                   12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                Current value of
                                                                                                                                    debtor's interest
 2.         Cash on hand                                                                                                                            $886.00



 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                         Last 4 digits of account
                                                                                                         number


            3.1.   Valliance Bank                                           Insurance Funding            7972                                    $52,125.55




            3.2.   Texas Capital Bank                                       Operating                    3512                                       $847.00




            3.3.   Texas Capital Bank                                       Accounts Payable             4114                                    $35,000.00




            3.4.   Bank SNB                                                 FBO                          7930                                    $23,528.30



 4.         Other cash equivalents (Identify all)


            4.1.   Gift Cards                                                                                                                     $1,091.04




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                            page 1
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            Case 17-42571-rfn11 Doc 90 Filed 08/04/17                                 Entered 08/04/17 15:23:24         Page 8 of 47

 Debtor            Foundation Healthcare, Inc.                                               Case number (If known) 17-42571-mxm11
                   Name


 5.         Total of Part 1.                                                                                                    $113,477.89
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.
 7.         Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit
                     Retainer
            7.1.     Ankura Consulting - Financial Advisors/Turnaround & Restructuring                                                  $51,087.19



                     Retainer
            7.2.     Spectrum Health Partners - Interim CFO                                                                             $24,000.00



                     Retainer
            7.3.     Donlin Recano - Noticing Agent                                                                                     $30,000.00



                     Retainer
            7.4.     Law Office of William Canon                                                                                          $1,000.00



                     Retainer
            7.5.     Suzy Hensley - Contract Labor, Legal Assistant                                                                         $950.00



                     Retainer
            7.6.     Robin Taylor - Contract Labor, Treasury Manager                                                                      $1,150.00



                     Retainer
            7.7.     Eide Baily - Tax Returns                                                                                           $50,000.00



 8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
            Description, including name of holder of prepayment


            8.1.     Rent - North Portland Holdings                                                                                     $15,866.00




 9.         Total of Part 2.                                                                                                    $174,053.19
            Add lines 7 through 8. Copy the total to line 81.

 Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.
 11.        Accounts receivable

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 2
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            Case 17-42571-rfn11 Doc 90 Filed 08/04/17                                    Entered 08/04/17 15:23:24                 Page 9 of 47

 Debtor         Foundation Healthcare, Inc.                                                       Case number (If known) 17-42571-mxm11
                Name


           11a. 90 days old or less:                            170,155.00   -                                   0.00 = ....                  $170,155.00
                                              face amount                           doubtful or uncollectible accounts




 12.       Total of Part 3.                                                                                                               $170,155.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

     No.    Go to Part 5.
     Yes Fill in the information below.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No.    Go to Part 6.
     Yes Fill in the information below.

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
     Yes Fill in the information below.
           General description                                                   Net book value of         Valuation method used     Current value of
                                                                                 debtor's interest         for current value         debtor's interest
                                                                                 (Where available)

 39.       Office furniture

 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Servers                                                                              $1.00      Liquidation                                 $1.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                                           $1.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
            No
            Yes
 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
            No
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                        page 3
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            Case 17-42571-rfn11 Doc 90 Filed 08/04/17                                Entered 08/04/17 15:23:24               Page 10 of 47

 Debtor         Foundation Healthcare, Inc.                                                   Case number (If known) 17-42571-mxm11
                Name


             Yes
 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No.    Go to Part 9.
     Yes Fill in the information below.

 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No.    Go to Part 10.
     Yes Fill in the information below.

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No. Go to Part 11.
     Yes Fill in the information below.
            General description                                               Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites

 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property
            Management Fee Buyout                                                    $236,085.77     Book                                $236,085.77



 65.        Goodwill

 66.        Total of Part 10.                                                                                                         $236,085.77
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
             No
             Yes
 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
             No
             Yes
 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
             No
             Yes
 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No. Go to Part 12.
     Yes Fill in the information below.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 4
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          Case 17-42571-rfn11 Doc 90 Filed 08/04/17                                  Entered 08/04/17 15:23:24         Page 11 of 47

 Debtor         Foundation Healthcare, Inc.                                                  Case number (If known) 17-42571-mxm11
                Name

                                                                                                                           Current value of
                                                                                                                           debtor's interest


 71.       Notes receivable
           Description (include name of obligor)

 72.       Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

           Anticipated tax return                                                              Tax year 2016                      $1,700,000.00



 73.       Interests in insurance policies or annuities

           Argonaut Insurance Company - Tail on D&O                                                                                       Unknown



 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)

 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

           Summit Management Contract                                                                                                  $336,000.00



           TSH Acquisition, LLC                                                                                                                 $0.00



           ApothecaryRx, LLC                                                                                                                    $0.00



           Ninety Nine Healthcare Management, LLC                                                                                               $0.00



           SDC Holdings, LLC                                                                                                                    $0.00



           Foundation Health Enterprises, LLC                                                                                                   $0.00



           Surveillance, The Motion Picture, LLC                                                                                                $0.00



           The Hunt, The Motion Picture, LLC                                                                                                    $0.00



           Fingerprint Productions, LLC                                                                                                         $0.00



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 5
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          Case 17-42571-rfn11 Doc 90 Filed 08/04/17                                  Entered 08/04/17 15:23:24         Page 12 of 47

 Debtor         Foundation Healthcare, Inc.                                                  Case number (If known) 17-42571-mxm11
                Name



           Soul's Midnight, LLC                                                                                                                 $0.00




 78.       Total of Part 11.                                                                                                   $2,036,000.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 6
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            Case 17-42571-rfn11 Doc 90 Filed 08/04/17                                                   Entered 08/04/17 15:23:24                      Page 13 of 47

 Debtor          Foundation Healthcare, Inc.                                                                         Case number (If known) 17-42571-mxm11
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                          $113,477.89

 81. Deposits and prepayments. Copy line 9, Part 2.                                                               $174,053.19

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $170,155.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $1.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                $236,085.77

 90. All other assets. Copy line 78, Part 11.                                                    +              $2,036,000.00

 91. Total. Add lines 80 through 90 for each column                                                         $2,729,772.85            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $2,729,772.85




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 7
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           Case 17-42571-rfn11 Doc 90 Filed 08/04/17                                              Entered 08/04/17 15:23:24               Page 14 of 47
 Fill in this information to identify the case:

 Debtor name         Foundation Healthcare, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)          17-42571-mxm11
                                                                                                                                               Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1                                                                                                                                                       $1,100,000.
           Priority creditor's name and mailing address              As of the petition filing date, the claim is:                  $1,100,000.00          00
           Internal Revenue Service                                  Check all that apply.
           PO Box 7346                                                Contingent
           Philadelphia, PA 19101-7346                                Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
           Unknown                                                   Past-due Income Tax
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                     $15,740.00          $15,740.00
           Iowa Department of Revenue                                Check all that apply.
           PO Box 10471                                               Contingent
           Des Moines, IA 10471                                       Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
           2-Jun-17                                                  Taxes
           Last 4 digits of account number 2745                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 30
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           Case 17-42571-rfn11 Doc 90 Filed 08/04/17                                              Entered 08/04/17 15:23:24                              Page 15 of 47
 Debtor       Foundation Healthcare, Inc.                                                                     Case number (if known)          17-42571-mxm11
              Name

 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $967.90    $967.90
           Missouri Dept. of Revenue                                 Check all that apply.
           P O Box 3365                                               Contingent
           Jefferson City, MO 65105-3365                              Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
           Unknown                                                   Franchise Tax
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.4       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                  $33,031.26      $33,031.26
           PA Dept of Revenue                                        Check all that apply.
           333 Walnut St                                              Contingent
           Harrisburg, PA 17128-0908                                  Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
           Unknown                                                   Franchise Tax
           Last 4 digits of account number 6669                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  Unknown
           ADAMS, AUTUMN                                                            Contingent
           11204 N FLORIDA AVE
           OKLAHOMA CITY, OK 73120
                                                                                    Unliquidated
           Date(s) debt was incurred
                                                                                    Disputed
           Last 4 digits of account number                                         Basis for the claim:     Former Employee
                                                                                   Is the claim subject to offset?    No  Yes
 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  Unknown
           ADAMS, XYLA M                                                            Contingent
           1017 SHADY CREEK CIRCLE
           GUTHRIE, OK 73044
                                                                                    Unliquidated
           Date(s) debt was incurred
                                                                                    Disputed
           Last 4 digits of account number                                         Basis for the claim:     Former Employee
                                                                                   Is the claim subject to offset?    No  Yes
 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $3,964.74
           Addison Group                                                            Contingent
           125 S Wacker Drive                                                       Unliquidated
           Suite 2700                                                               Disputed
           Chicago, IL 60606
                                                                                   Basis for the claim:     Trade debt
           Date(s) debt was incurred
           Last 4 digits of account number                                         Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 2 of 30
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          Case 17-42571-rfn11 Doc 90 Filed 08/04/17                                        Entered 08/04/17 15:23:24                               Page 16 of 47
 Debtor       Foundation Healthcare, Inc.                                                             Case number (if known)            17-42571-mxm11
              Name

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          AHLGREN, GAIL LYNN                                                  Contingent
          15904 TRADITIONS BLVD
          EDMOND, OK 73013
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          ALIBRANDO, SHANNON MARIE                                            Contingent
          11052 FOLKSTONE DRIVE
          YUKON, OK 73099
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          ALLGOOD, JOCELYN                                                    Contingent
          206 SOUTHSIDE DRIVE
          SANGER, TX 76266
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $30,641.83
          Allscripts Healthcare, LLC                                          Contingent
          8529 Six Forks Road                                                 Unliquidated
          Forum IV                                                            Disputed
          Raleigh, NC 27615
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,938.47
          AMERICAN OPTI-NET INC                                               Contingent
          315 NW 94th Street                                                  Unliquidated
          Oklahoma City, OK 73114                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $9,502.89
          AT&T 405 936 8200                                                   Contingent
          P O Box 5001                                                        Unliquidated
          Carol Stream, IL 60197-5001                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Telephone services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,755.06
          AT&T Long Distance 811314531                                        Contingent
          P O Box 5017                                                        Unliquidated
          Carol Stream, IL 60197-5017                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Telephone services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 3 of 30
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          Case 17-42571-rfn11 Doc 90 Filed 08/04/17                                        Entered 08/04/17 15:23:24                               Page 17 of 47
 Debtor       Foundation Healthcare, Inc.                                                             Case number (if known)            17-42571-mxm11
              Name

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          AVERY, RANDI DIANE                                                  Contingent
          103713 S 3390 ROAD
          MEEKER, OK 74855
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          BALL, JACKIE                                                        Contingent
          125 SE 57TH STREET
          OKLAHOMA CITY, OK 73129
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          BARTON, TISHA MARIE                                                 Contingent
          9733 HEFNER VILLAGE BLVD
          OKLAHOMA CITY, OK 73162
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          BASHORUN, SUNDIE SHAMIKA                                            Contingent
          9718 WARRINER CIRCLE
          OKLAHOMA CITY, OK 73162-7316
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          BECKLEY, DAWN MICHELLE                                              Contingent
          9116 CINDY RD.
          OKLAHOMA CITY, OK 73132
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          BELL, ANNDREA                                                       Contingent
          2301 PALOMINO DR
          OKLAHOMA CITY, OK 73121
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          BETHANCOURT, CATALINA                                               Contingent
          11300 SHASTA LANE
          OKLAHOMA CITY, OK 73162
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 4 of 30
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          Case 17-42571-rfn11 Doc 90 Filed 08/04/17                                        Entered 08/04/17 15:23:24                               Page 18 of 47
 Debtor       Foundation Healthcare, Inc.                                                             Case number (if known)            17-42571-mxm11
              Name

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          BLACK, STEPHANIE                                                    Contingent
          328 W CHANTILLY WAY
          MUSTANG, OK 73064
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          BLAIR, SCOTT                                                        Contingent
          2737 NW 140TH ST
          Apt 311
                                                                              Unliquidated
          OKLAHOMA CITY, OK 73134                                             Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Former Employee
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $150.00
          Bonded Services Inc.                                                Contingent
          3205 Burton Avenue                                                  Unliquidated
          Burbank, CA 91504                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          BRALY, CINDY                                                        Contingent
          6950 E. POST OAK ROAD
          NOBLE, OK 73068
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $238.34
          Broadridge ICS                                                      Contingent
          P O Box 416423                                                      Unliquidated
          Boston, MA 02241                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $40,000.00
          Brooks G. O'Neil                                                    Contingent
          8 Bridge Lane                                                       Unliquidated
          Edina, MN 55424                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          BROOM, RONDA                                                        Contingent
          8109 FRYE LANE
          OKLAHOMA CITY, OK 73135
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 5 of 30
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          Case 17-42571-rfn11 Doc 90 Filed 08/04/17                                        Entered 08/04/17 15:23:24                               Page 19 of 47
 Debtor       Foundation Healthcare, Inc.                                                             Case number (if known)            17-42571-mxm11
              Name

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          BRYAN, RACHEL                                                       Contingent
          2633 LERKIM LANE
          NORMAN, OK 73069
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $9,086.17
          Buchanan Ingersoll & Rooney PC                                      Contingent
          409 N Second Street                                                 Unliquidated
          Suite 500                                                           Disputed
          Harrisburg, PA 17101-1357
                                                                             Basis for the claim:    Legal services
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,852.57
          BUCHANAN TECHNOLOGIES, INC                                          Contingent
          P O Box 95274                                                       Unliquidated
          Grapevine, TX 76099-9752                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          BULLER, NATHAN DEAN                                                 Contingent
          1208 BEANO BEND
          EDMOND, OK 73034
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          BYERS, ROBERT MORTON                                                Contingent
          15217 STONEY SPRING ROAD
          EDMOND, OK 73013
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          CARBAJAL, AMY                                                       Contingent
          2709 FOREST GLEN CIRCLE
          CHOCTAW, OK 73020
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          CARPENTER, DEBRA ANN                                                Contingent
          P.O. BOX 6612 937 OAK CREEK DRIVE
          MOORE, OK 73153
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 6 of 30
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          Case 17-42571-rfn11 Doc 90 Filed 08/04/17                                        Entered 08/04/17 15:23:24                               Page 20 of 47
 Debtor       Foundation Healthcare, Inc.                                                             Case number (if known)            17-42571-mxm11
              Name

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          CARTER, LA KEENA JOYCE                                              Contingent
          PO BOX 55702
          DEL CITY, OK 73155
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          CASHNER, WILLIAM L                                                  Contingent
          7108 SPINDLE TREE LN
          RIVERVIEW, FL 33578
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          CASHNER, WILLIAM L                                                  Contingent
          16109 SONOMA DR
          EDMOND, OK 73013
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $6,635.00
          CCH Incorporated                                                    Contingent
          P O Box 4307                                                        Unliquidated
          Carol Stream, IL 60197-4307                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $19,462.08
          CDW                                                                 Contingent
          75 Remittance Drive                                                 Unliquidated
          Suite 1515                                                          Disputed
          Chicago, IL 60675-1515
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $146.50
          Christensen Law Group, PLLC                                         Contingent
          3401 NW 63rd Street                                                 Unliquidated
          Suite 600                                                           Disputed
          Oklahoma City, OK 73116
                                                                             Basis for the claim:    Legal services
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          CHURCH, SHELLY LYNN                                                 Contingent
          307 N BRADBURY ST
          DEER CREEK, IL 61733
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 7 of 30
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          Case 17-42571-rfn11 Doc 90 Filed 08/04/17                                        Entered 08/04/17 15:23:24                               Page 21 of 47
 Debtor       Foundation Healthcare, Inc.                                                             Case number (if known)            17-42571-mxm11
              Name

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          CLARK, SUSAN                                                        Contingent
          821 N W 90TH
          OKLAHOMA CITY, OK 73114
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          CLORE, MISTY                                                        Contingent
          4044 NW 20TH ST
          OKLAHOMA CITY, OK 73107
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          COMBS, SHARNISE                                                     Contingent
          10409 FAWN CANYON DRIVE
          OKLAHOMA CITY, OK 73162
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,284.24
          Computershare, Inc                                                  Contingent
          Dept CH 19228                                                       Unliquidated
          Palatine, IL 60055-9228                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $907.80
          Corporation Service Company                                         Contingent
          2711 Centerville Rd                                                 Unliquidated
          Wilmington, DE 19808                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          CRENSHAW, SAMUEL TRAVIS                                             Contingent
          8608 NW 126TH ST
          OKLAHOMA CITY, OK 73142
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          CROWN, JALYN                                                        Contingent
          8651 S MIDWEST BOULEVARD
          GUTHRIE, OK 73044
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 8 of 30
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          Case 17-42571-rfn11 Doc 90 Filed 08/04/17                                        Entered 08/04/17 15:23:24                               Page 22 of 47
 Debtor       Foundation Healthcare, Inc.                                                             Case number (if known)            17-42571-mxm11
              Name

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          CRUM, MAMIE                                                         Contingent
          8522 BRAEWICK DR
          HOUSTON, TX 77074
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          DALZELL, ANGIE                                                      Contingent
          309 CARDINAL AVE
          THIEF RIVER FALLS, MN 56701
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          DAVIS, AMBER                                                        Contingent
          16336 S W 28TH ST
          EL RENO, OK 73036
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          DEAN, JASON                                                         Contingent
          1000 EAST TEXAS
          IOWA PARK, TX 76367
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          DIAZ, VANESSA                                                       Contingent
          2932 SW 60TH ST
          OKLAHOMA CITY, OK 73159
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $19,965.00
          DONNELLEY FINANCIAL, LLC                                            Contingent
          P O Box 842282                                                      Unliquidated
          Boston, MA 02284-2282                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          DOOLITTLE, RONALD                                                   Contingent
          3724 OAKRIDGE CIRCLE
          EDMOND, OK 73034
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 9 of 30
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          Case 17-42571-rfn11 Doc 90 Filed 08/04/17                                        Entered 08/04/17 15:23:24                               Page 23 of 47
 Debtor       Foundation Healthcare, Inc.                                                             Case number (if known)            17-42571-mxm11
              Name

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          DOROTEO, ANGELICA MARIA                                             Contingent
          2541 SW 23RD STREET
          OKLAHOMA CITY, OK 73108
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          DUKE, JENNIFER                                                      Contingent
          15287 W. 215TH STREET
          SPRING HILL, KS 66083
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          DUNAGIN, JANE LEIGH                                                 Contingent
          11300 N PENNSYLVANIA AVE.
          No 121
                                                                              Unliquidated
          OKLAHOMA CITY, OK 73120                                             Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Former Employee
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $25,568.27
          Eide Bailey                                                         Contingent
          1601 NW Expressway                                                  Unliquidated
          Suite 1900                                                          Disputed
          Oklahoma City, OK 73118
                                                                             Basis for the claim:    Accounting Services
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          ELDER, BRIDGET INEZ                                                 Contingent
          11830 WEST 81ST STREET SOUTH
          SAPULPA, OK 74006
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          EPPERLY, GRADY                                                      Contingent
          3725 FOX TAIL DRIVE
          EDMOND, OK 73034
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          EPPERLY, WILLIAM G.                                                 Contingent
          1906 CEDAR POINTE LANE
          EDMOND, OK 73003
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 10 of 30
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          Case 17-42571-rfn11 Doc 90 Filed 08/04/17                                        Entered 08/04/17 15:23:24                               Page 24 of 47
 Debtor       Foundation Healthcare, Inc.                                                             Case number (if known)            17-42571-mxm11
              Name

 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          ESTRADA, CHARINA NICOLE                                             Contingent
          8725 ALEXIS LANE
          JONES, OK 73049
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $146.27
          Eureka Water Company                                                Contingent
          P O Box 26730                                                       Unliquidated
          Oklahoma City, OK 73126                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          FARANI, ABRAHAM ADNAN                                               Contingent
          1614 N CENTER AVE
          SHAWNEE, OK 74804
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $135.90
          FEDEX                                                               Contingent
          P O Box 660481                                                      Unliquidated
          Dallas, TX 75266-0481                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $361.43
          First Choice Coffee Services                                        Contingent
          3501 S Moulton Drive                                                Unliquidated
          Oklahoma City, OK 73179                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $520.00
          FORD AUDIO-VIDEO SYSTEMS, LLC                                       Contingent
          4800 West I-40 Service Rd                                           Unliquidated
          Oklahoma City, OK 73128                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          FOSTER, LASHAWNA                                                    Contingent
          PO BOX 22065
          OKLAHOMA CITY, OK 73123
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 11 of 30
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          Case 17-42571-rfn11 Doc 90 Filed 08/04/17                                        Entered 08/04/17 15:23:24                               Page 25 of 47
 Debtor       Foundation Healthcare, Inc.                                                             Case number (if known)            17-42571-mxm11
              Name

 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $126.80
          FP Mailing Solutions                                                Contingent
          140 N Mitchell Ct                                                   Unliquidated
          Suite 200                                                           Disputed
          Addison, IL 60101-5629
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          GARCIA, MONICA                                                      Contingent
          1354 MAGDALENA DRIVE
          OKLAHOMA CITY, OK 73119
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,471.82
          GE Capital                                                          Contingent
          P O Box 105710                                                      Unliquidated
          Atlanta, GA 30348-5710                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $102,060.09
          Goodwin Procter LLP                                                 Contingent
          100 Northern Avenue                                                 Unliquidated
          Boston, MA 02210                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          GORDON, DANA                                                        Contingent
          3224 NW 54
          OKLAHOMA CITY, OK 73112
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $139,313.94
          Greenberg Traurig, LLP                                              Contingent
          One International Place                                             Unliquidated
          Boston, MA 02110                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          GUZMAN, ASHLEY                                                      Contingent
          6205 NW 154TH TERRACE
          EDMOND, OK 73013
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 12 of 30
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          Case 17-42571-rfn11 Doc 90 Filed 08/04/17                                        Entered 08/04/17 15:23:24                               Page 26 of 47
 Debtor       Foundation Healthcare, Inc.                                                             Case number (if known)            17-42571-mxm11
              Name

 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          HARRIS, GLORIA                                                      Contingent
          9618 PINE BANK DRIVE
          HOUSTON, TX 77095
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $67,725.00
          Hein & Associates                                                   Contingent
          1999 Broadway                                                       Unliquidated
          Ste 4000                                                            Disputed
          Denver, CO 80202
                                                                             Basis for the claim:    Accounting Services
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          HENRY-FITZGERALD, APRIL LINETTE                                     Contingent
          16108 ROYAL CREST LANE
          EDMOND, OK 73013
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          HENSLEY, SANDRA SUE                                                 Contingent
          7136 WOODRIDGE AVENUE
          OKLAHOMA CITY, OK 73132
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $1,239,792.30
          Hewlett-Packard Financial Services Co                               Contingent
          200 Connell Drive, Suite 5000                                       Unliquidated
          Berkeley Heights, NJ 07922                                          Disputed
          Date(s) debt was incurred 10/24/2016
                                                                             Basis for the claim:    Promissory Note
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          HILL, TAWANA M.                                                     Contingent
          8124 W. BRITTON ROAD
          Apt 2
                                                                              Unliquidated
          OKLAHOMA CITY, OK 73132                                             Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Former Employee
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          HUGHES, LANEY M.                                                    Contingent
          2200 NW 52ND
          OKLAHOMA CITY, OK 73112
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 13 of 30
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          Case 17-42571-rfn11 Doc 90 Filed 08/04/17                                        Entered 08/04/17 15:23:24                               Page 27 of 47
 Debtor       Foundation Healthcare, Inc.                                                             Case number (if known)            17-42571-mxm11
              Name

 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          HUGHES, LANEY MARIE                                                 Contingent
          105 MAIN STREET
          OKLAHOMA CITY, OK 74152
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,873.26
          IBM Credit LLC                                                      Contingent
          3039 E Cornwallis Rd                                                Unliquidated
          RSRCH TRI PK, NC 27709                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,762.50
          Interworks                                                          Contingent
          1425 S Sangre Rd                                                    Unliquidated
          Stillwater, OK 74074                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $346.81
          Iron Mountain                                                       Contingent
          1000 Campus Drive                                                   Unliquidated
          Collegeville, PA 19426                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          JONES, FELICIA                                                      Contingent
          2932 N. VERMONT AVENUE
          OKLAHOMA CITY, OK 73107
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          JONES, MARIAN                                                       Contingent
          4200 N MERIDIAN AVENUE
          Apt 924
                                                                              Unliquidated
          OKLAHOMA CITY, OK 73112                                             Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Former Employee
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          JONES, STEPHANIE                                                    Contingent
          2929 SW 128TH STREET
          OKLAHOMA CITY, OK 73170
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 14 of 30
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          Case 17-42571-rfn11 Doc 90 Filed 08/04/17                                        Entered 08/04/17 15:23:24                               Page 28 of 47
 Debtor       Foundation Healthcare, Inc.                                                             Case number (if known)            17-42571-mxm11
              Name

 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          KEGIN, AMANDA                                                       Contingent
          2200 MARK RD
          EDMOND, OK 73003
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          KIDD, MARK                                                          Contingent
          335 S WILSON
          VINITA, OK 74301
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          KING, HUGH                                                          Contingent
          15536 MONARCH LANE
          EDMOND, OK 73013
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          KNIESS, JESSICA                                                     Contingent
          905 TEAKWOOD AVENUE
          YUKON, OK 73099
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          LASTER, KAREN                                                       Contingent
          2713 DRAKESTONE AVENUE
          OKLAHOMA CITY, OK 73120
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          LEVINE, SUSAN                                                       Contingent
          105 BANA DRIVE
          ENID, OK 73703-7370
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $19,118.15
          Lexmark Enterprise Software USA Inc                                 Contingent
          8900 Renner Blvd                                                    Unliquidated
          Lenexa, KS 66219-3049                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 15 of 30
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          Case 17-42571-rfn11 Doc 90 Filed 08/04/17                                        Entered 08/04/17 15:23:24                               Page 29 of 47
 Debtor       Foundation Healthcare, Inc.                                                             Case number (if known)            17-42571-mxm11
              Name

 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          LIVESAY - FOX, LISA                                                 Contingent
          427 NW 115TH ST
          OKLAHOMA CITY, OK 73114
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          LOFTIS, ELIZABETH                                                   Contingent
          20510 COUNTY ROAD 17
          HERMAN, NE 68029
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          LOPEZ, ADRIANA                                                      Contingent
          23873 E 1035 ROAD
          WEATHERFORD, OK 73096
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          LOZANO, CLAUDIA                                                     Contingent
          8500 WOODFIELD
          OKLAHOMA CITY, OK 73149
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          LYONS, ERIC                                                         Contingent
          1301 NW K STREET
          BENTONVILLE, AR 72712
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          MADOLE, ALICIA                                                      Contingent
          4317 SW 22ND ST
          Apt 1812
                                                                              Unliquidated
          OKLAHOMA CITY, OK 73108                                             Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Former Employee
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $20,000.00
          ManagementWorks, LLC                                                Contingent
          9960 NW 35th Street                                                 Unliquidated
          Cooper City, FL 33024                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 16 of 30
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          Case 17-42571-rfn11 Doc 90 Filed 08/04/17                                        Entered 08/04/17 15:23:24                               Page 30 of 47
 Debtor       Foundation Healthcare, Inc.                                                             Case number (if known)            17-42571-mxm11
              Name

 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          MARCHIO, RITA LYNN                                                  Contingent
          804 N. NAIL PARKWAY
          MOORE, OK 73160
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          MARR, JENA LEE                                                      Contingent
          11233 NW 105TH STREET
          YUKON, OK 73099
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          MAY, BEN                                                            Contingent
          4201 CAILBURN PKWY
          EDMOND, OK 73034
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $35,019.17
          McAfee & Taft                                                       Contingent
          211 North Robinson                                                  Unliquidated
          Suite 1000                                                          Disputed
          Oklahoma City, OK 73102-7103
                                                                             Basis for the claim:    Legal services
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          MICHAUD, BENJAMIN LIONEL                                            Contingent
          2516 RICHLAND DRIVE
          EDMOND, OK 73012
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          MICHAUD, T. ALEX                                                    Contingent
          214 NW 31ST
          OKLAHOMA CITY, OK 73118
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          MICHAUD, THOMAS A.                                                  Contingent
          6600 OAK VIEW ROAD
          EDMOND, OK 73025
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 17 of 30
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          Case 17-42571-rfn11 Doc 90 Filed 08/04/17                                        Entered 08/04/17 15:23:24                               Page 31 of 47
 Debtor       Foundation Healthcare, Inc.                                                             Case number (if known)            17-42571-mxm11
              Name

 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,580.96
          Midcon Data Services LLC                                            Contingent
          13431 North Broadway Ext                                            Unliquidated
          Suite 115                                                           Disputed
          Oklahoma City, OK 73114
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          MUTZ, FRANCES L                                                     Contingent
          6305 NW 32ND STREET
          BETHANY, OK 73008
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $12,611.23
          Nasdaq Corporate Solutions, LLC                                     Contingent
          401 Market Street                                                   Unliquidated
          Philadelphia, PA 19106                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          NEAL, LAQUAIN                                                       Contingent
          2600 WATERMARK BLVD. APT. 1211
          Apt 1211
                                                                              Unliquidated
          OKLAHOMA CITY, OK 73134                                             Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Former Employee
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          NELSON, STANTON                                                     Contingent
          1501 DRURY LANE
          NICHOLS HILLS, OK 73116
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          NESBITT, TAMIKO Y                                                   Contingent
          1444 NE EUCLID STREET
          OKLAHOMA CITY, OK 73117
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          NORCOM, HEATHER                                                     Contingent
          1617 VICTORIA DR
          EDMOND, OK 73003
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 18 of 30
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          Case 17-42571-rfn11 Doc 90 Filed 08/04/17                                        Entered 08/04/17 15:23:24                               Page 32 of 47
 Debtor       Foundation Healthcare, Inc.                                                             Case number (if known)            17-42571-mxm11
              Name

 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          NUNEZ, ELIZABETH                                                    Contingent
          4904 S DREXEL AVE
          OKLAHOMA CITY, OK 73119
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          ODELL, DANA                                                         Contingent
          19600 SE 121 STREET
          MCLOUD, OK 74851
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          OGAN, ANDREW DAVID                                                  Contingent
          9477 PRAIRIE DOG DRIVE
          EDMOND, OK 73034
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,500.00
          Oklahoma Bioscience Association                                     Contingent
          840 Research Parkway                                                Unliquidated
          Suite 250                                                           Disputed
          Oklahoma City, OK 73104
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          ORTIZ, EVANGELINE ROSE                                              Contingent
          11513 SW 25TH STREET
          YUKON, OK 73099
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $580.00
          Paintworks LLC                                                      Contingent
          3801 91 Ave NE                                                      Unliquidated
          Norman, OK 73026                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $15,550.00
          Petra Consulting Group                                              Contingent
          9041 Larston                                                        Unliquidated
          Houston, TX 77055                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 19 of 30
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          Case 17-42571-rfn11 Doc 90 Filed 08/04/17                                        Entered 08/04/17 15:23:24                               Page 33 of 47
 Debtor       Foundation Healthcare, Inc.                                                             Case number (if known)            17-42571-mxm11
              Name

 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          PFAFF, JAMES ROY                                                    Contingent
          12455 SMOKEY RIDGE
          GUTHRIE, OK 73044
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          PHIPPS, EMILY                                                       Contingent
          213 ATTERBERRY DRIVE
          NORMAN, OK 73071
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          PHIPPS, EMILY ANNE                                                  Contingent
          213 ATTERBERRY DRIVE
          NORMAN, OK 73071
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          PUIGGARI, MARCELO M                                                 Contingent
          3221 ELMWOOD AVE
          OKLAHOMA CITY, OK 73116
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $135.00
          Quail Springs Self Storage                                          Contingent
          13801 Technology Drive                                              Unliquidated
          Oklahoma City, OK 73134                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $312.66
          Quest Diagnostics                                                   Contingent
          P O Box 740709                                                      Unliquidated
          Atlanta, GA 30374-0709                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $133,052.57
          Reed Smith                                                          Contingent
          7900 Tysons One Place                                               Unliquidated
          Ste 500                                                             Disputed
          McLean, VA 22102
                                                                             Basis for the claim:    Legal services
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 20 of 30
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          Case 17-42571-rfn11 Doc 90 Filed 08/04/17                                        Entered 08/04/17 15:23:24                               Page 34 of 47
 Debtor       Foundation Healthcare, Inc.                                                             Case number (if known)            17-42571-mxm11
              Name

 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,086.93
          RETARUS INC.                                                        Contingent
          201 Route 17 North                                                  Unliquidated
          Suite 603, (6th Floor)                                              Disputed
          Rutherford, NJ 07070
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          RICHARDSON, ALICIA CHEYNEL                                          Contingent
          29 SW 143RD STREET
          OKLAHOMA CITY, OK 73170
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $41.68
          RICOH USA, INC                                                      Contingent
          70 Valley Stream Parkway                                            Unliquidated
          Malvern, PA 19355                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          RITCHIE, KARI                                                       Contingent
          10405 BLUE SPRUCE RD
          OKLAHOMA CITY, OK 73162
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $324.76
          RK Black, Inc                                                       Contingent
          4111 Perimeter Center Place                                         Unliquidated
          Oklahoma City, OK 73112-2308                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          ROBERSON, BREAUNA                                                   Contingent
          9914 HEFNER VILLAGE PLACE
          OKLAHOMA CITY, OK 73162
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          ROBERTS, JOSEPHA ALICIA                                             Contingent
          2700 SW 82ND STREET
          OKLAHOMA CITY, OK 73159
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 21 of 30
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          Case 17-42571-rfn11 Doc 90 Filed 08/04/17                                        Entered 08/04/17 15:23:24                               Page 35 of 47
 Debtor       Foundation Healthcare, Inc.                                                             Case number (if known)            17-42571-mxm11
              Name

 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $10,800.00
          Robison Gary Johnson & Associates                                   Contingent
          2575 Kelley Pointe Pkwy                                             Unliquidated
          Suite 140                                                           Disputed
          Edmond, OK 73013
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          RODMAN, MICHAEL DEWEY                                               Contingent
          2628 N ANN ARBOR AVE
          No 204
                                                                              Unliquidated
          OKLAHOMA CITY, OK 73127                                             Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Former Employee
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          ROGERS, JULIE                                                       Contingent
          9020 NW 148TH PLACE
          YUKON, OK 73099
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          ROGERS, JULIE RENEA                                                 Contingent
          9020 NW 148TH PLACE
          YUKON, OK 73099
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $39,932.00
          RR Donnelley Receivables, Inc                                       Contingent
          P O Box 932721                                                      Unliquidated
          Cleveland, OH 44193                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $14,448.00
          RT Oliver                                                           Contingent
          101 N Robinson                                                      Unliquidated
          Suite 900                                                           Disputed
          Oklahoma City, OK 73102
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          RUPP, SHAREE                                                        Contingent
          2706 W HEFNER
          OKLAHOMA CITY, OK 73120
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 22 of 30
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          Case 17-42571-rfn11 Doc 90 Filed 08/04/17                                        Entered 08/04/17 15:23:24                               Page 36 of 47
 Debtor       Foundation Healthcare, Inc.                                                             Case number (if known)            17-42571-mxm11
              Name

 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          RUSSELL, SARA C                                                     Contingent
          1755 FACTORY OUTLET BOULEVARD
          No 126
                                                                              Unliquidated
          NIAGRA FALLS, NY 14304                                              Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Former Employee
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          RYAN, SARAH                                                         Contingent
          5036 BRITTANY PAIGE DRIVE
          EDMOND, OK 73034
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          SCHARP, VICKIE                                                      Contingent
          6306 NORTHRIDGE LANE NE
          PIEDMONT, OK 73078
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.147    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          SCHUSTER, MICHAEL R                                                 Contingent
          2304 OLD FARM ROAD
          EDMOND, OK 73013
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.148    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          SHUMATE, MLISA                                                      Contingent
          1927 NW 17TH
          OKLAHOMA CITY, OK 73106
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.149    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          SIKES, CODY                                                         Contingent
          5108 NW 47TH STREET
          WARR ACRES, OK 73122
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.150    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          SINGER, STANLEY GERARD                                              Contingent
          9425 PROSPER DRIVE
          OKLAHOMA CITY, OK 73151
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 23 of 30
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          Case 17-42571-rfn11 Doc 90 Filed 08/04/17                                        Entered 08/04/17 15:23:24                               Page 37 of 47
 Debtor       Foundation Healthcare, Inc.                                                             Case number (if known)            17-42571-mxm11
              Name

 3.151    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          SMITH, ADRIAN                                                       Contingent
          2401 NORTHWEST 122ND ST
          Apt 74
                                                                              Unliquidated
          OKLAHOMA CITY, OK 73120                                             Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Former Employee
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.152    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          SMITH, MARIE ANNETTE                                                Contingent
          609 NW 2ND
          MOORE, OK 73160
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.153    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $912.25
          SmithDryden, LLC                                                    Contingent
          2801 Coltrane Place                                                 Unliquidated
          Suite 4                                                             Disputed
          Edmond, OK 73034
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.154    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          SMITHWICK, TYLER                                                    Contingent
          808 WEST LONDON
          EL RENO, OK 73036
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.155    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          SNEED, DRACE                                                        Contingent
          1034 W KYLE WAY
          MUSTANG, OK 73064
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.156    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          SOLEY, RENAE                                                        Contingent
          22631 LONE HAWK TRAIL
          LUTHER, OK 73054-7305
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.157    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $68,771.49
          Stanton Nelson                                                      Contingent
          1501 Drury Lane                                                     Unliquidated
          Nichols Hills, OK 73116                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Amounts claimed for reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 24 of 30
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          Case 17-42571-rfn11 Doc 90 Filed 08/04/17                                        Entered 08/04/17 15:23:24                               Page 38 of 47
 Debtor       Foundation Healthcare, Inc.                                                             Case number (if known)            17-42571-mxm11
              Name

 3.158    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,086.74
          Staples Advantage                                                   Contingent
          P O Box 83689                                                       Unliquidated
          Chicago, IL 60696-3689                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.159    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          STEWART, JAIME D                                                    Contingent
          14667 NW 150TH
          PIEDMONT, OK 73078
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.160    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          STREALY, BRYAN STEWART                                              Contingent
          2512 NW 29TH STREET
          OKLAHOMA CITY, OK 73107
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.161    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $59,220.85
          Tatum                                                               Contingent
          P O Box 847872                                                      Unliquidated
          Dallas, TX 75284-7872                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Consulting Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.162    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          TAYLOR, ROBIN M                                                     Contingent
          509 FOXFIRE
          EDMOND, OK 73003
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.163    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          TEKALIGN, WUBALEM                                                   Contingent
          12200 HERITAGE PARK RD
          Apt B 119
                                                                              Unliquidated
          OKLAHOMA CITY, OK 73120                                             Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Former Employee
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.164    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,048.00
          The Oklahoman Media Company                                         Contingent
          P O Box 25125                                                       Unliquidated
          Oklahoma City, OK 73125-0125                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 25 of 30
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          Case 17-42571-rfn11 Doc 90 Filed 08/04/17                                        Entered 08/04/17 15:23:24                               Page 39 of 47
 Debtor       Foundation Healthcare, Inc.                                                             Case number (if known)            17-42571-mxm11
              Name

 3.165    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          THIERY, KATHERINE RACHEL                                            Contingent
          9312 MAHLER PLACE
          OKLAHOMA CITY, OK 73120
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.166    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          THOMPSON, AILEE CAMILLE                                             Contingent
          515 NW 20TH STREET
          Apt 7
                                                                              Unliquidated
          OKLAHOMA CITY, OK 73103                                             Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Former Employee
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.167    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          THOMPSON, FORREST E                                                 Contingent
          14209 KIRKLAND RIDGE
          EDMOND, OK 73013
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.168    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          TIPTON, CHELSEY                                                     Contingent
          9537 SW 35TH TERR
          OKLAHOMA CITY, OK 73179
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.169    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          TIPTON, KIMBERLY                                                    Contingent
          3905 NW 61ST ST
          OKLAHOMA CITY, OK 73112
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.170    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          TOMLIN, ANDREA ESTEFANIA                                            Contingent
          1709 NW 34TH STREET
          OKLAHOMA CITY, OK 73118
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.171    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          TOMSON, TAYLOR BROOKE                                               Contingent
          9421 TIMBERWIND LANE
          YUKON, OK 73099
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 26 of 30
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          Case 17-42571-rfn11 Doc 90 Filed 08/04/17                                        Entered 08/04/17 15:23:24                               Page 40 of 47
 Debtor       Foundation Healthcare, Inc.                                                             Case number (if known)            17-42571-mxm11
              Name

 3.172    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $9,588.46
          Toshiba Medical Credit                                              Contingent
          P O Box 41602                                                       Unliquidated
          Philadelphia, PA 19101-1602                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.173    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          TRUJILLO, BARBARA KAY                                               Contingent
          7901 S COUNCIL RD
          Lot 82
                                                                              Unliquidated
          OKLAHOMA CITY, OK 73169-2414                                        Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Former Employee
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.174    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          TURNER, KEVIN                                                       Contingent
          12132 SKYWAY AVENUE
          OKLAHOMA CITY, OK 73162
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.175    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $7,512.00
          Tyco Integrated Secutiry, LLC                                       Contingent
          10405 Crosspoint Blvd                                               Unliquidated
          Indianapolis, IN 46256                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.176    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $579.93
          Underground Vaults & Storage                                        Contingent
          P O Box 1723                                                        Unliquidated
          Hutchinson, KS 67504-1723                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.177    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          VAN KLEY, KARLY                                                     Contingent
          2944 SW 57TH ST
          OKLAHOMA CITY, OK 73119
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.178    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          VANSANT, MATTHEW                                                    Contingent
          8001 CURTIS TERR
          OKLAHOMA CITY, OK 73132
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 27 of 30
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          Case 17-42571-rfn11 Doc 90 Filed 08/04/17                                        Entered 08/04/17 15:23:24                               Page 41 of 47
 Debtor       Foundation Healthcare, Inc.                                                             Case number (if known)            17-42571-mxm11
              Name

 3.179    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $41,786.25
          VI Marketing and Branding                                           Contingent
          125 Park Avenue                                                     Unliquidated
          Ste 200                                                             Disputed
          Oklahoma City, OK 73102
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.180    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,143.92
          ViaVid Communications Simplified                                    Contingent
          118-998 Harbourside Drive                                           Unliquidated
          North Vancouver, British Columbia V7P 3T                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.181    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          VINYARD, SKYLER                                                     Contingent
          5916 SE 71ST STREET
          OKLAHOMA CITY, OK 73135
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.182    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          WALKER, CILICIA                                                     Contingent
          4708 SE 78TH
          OKLAHOMA CITY, OK 73135
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.183    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          WARSHELL, RITA J                                                    Contingent
          5401 NW 110TH STREET
          OKLAHOMA CITY, OK 73162
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.184    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          WASHINGTON, KATRINA RENAE                                           Contingent
          7525 NW 113TH PLACE
          OKLAHOMA CITY, OK 73162
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.185    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          WATIE, STACIE                                                       Contingent
          601 VISTA LANE
          No 261
                                                                              Unliquidated
          EDMOND, OK 73034                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Former Employee
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 28 of 30
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           Case 17-42571-rfn11 Doc 90 Filed 08/04/17                                       Entered 08/04/17 15:23:24                               Page 42 of 47
 Debtor       Foundation Healthcare, Inc.                                                             Case number (if known)            17-42571-mxm11
              Name

 3.186     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
           WATTS, MARY MICHELLE                                               Contingent
           2122 BENTHAM WAY
           YUKON, OK 73099
                                                                              Unliquidated
           Date(s) debt was incurred
                                                                              Disputed
           Last 4 digits of account number                                   Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.187     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
           WHITEBIRD, APRIL CHEYENNE                                          Contingent
           7000 S WALKER AVE
           Apt 98
                                                                              Unliquidated
           OKLAHOMA CITY, OK 73139                                            Disputed
           Date(s) debt was incurred                                         Basis for the claim:    Former Employee
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.188     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
           WICK, SHEILA                                                       Contingent
           1403 TENNIS DRIVE
           Apt 1316
                                                                              Unliquidated
           BEDFORD, TX 76022                                                  Disputed
           Date(s) debt was incurred                                         Basis for the claim:    Former Employee
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.189     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
           WILLIAMS, ROBERT L                                                 Contingent
           5409 EVANBROOK TER
           OKLAHOMA CITY, OK 73135
                                                                              Unliquidated
           Date(s) debt was incurred
                                                                              Disputed
           Last 4 digits of account number                                   Basis for the claim:    Former Employee
                                                                             Is the claim subject to offset?    No  Yes
 3.190     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
           WITTER, VENISE                                                     Contingent
           2400 S MACARTHUR BLVD
           No 171
                                                                              Unliquidated
           OKLAHOMA CITY, OK 73128                                            Disputed
           Date(s) debt was incurred                                         Basis for the claim:    Former Employee
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.191     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $412,719.46
           Workday, Inc.                                                      Contingent
           6230 Stoneridge Mall Road                                          Unliquidated
           Pleasanton, CA 94588                                               Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                      related creditor (if any) listed?                account number, if
                                                                                                                                                       any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 29 of 30
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          Case 17-42571-rfn11 Doc 90 Filed 08/04/17                                      Entered 08/04/17 15:23:24                     Page 43 of 47
 Debtor       Foundation Healthcare, Inc.                                                        Case number (if known)        17-42571-mxm11
              Name


5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                  Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.       $                  1,149,739.16
 5b. Total claims from Part 2                                                                       5b.   +   $                  2,661,197.54

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.       $                    3,810,936.70




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 30 of 30
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          Case 17-42571-rfn11 Doc 90 Filed 08/04/17                              Entered 08/04/17 15:23:24                 Page 44 of 47
 Fill in this information to identify the case:

 Debtor name         Foundation Healthcare, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)         17-42571-mxm11
                                                                                                                              Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                  Name                            Check all schedules
                                                                                                                                that apply:

    2.1      ApothecaryRx,                     PO Box 20709                                     Texas Capital Bank              D        2.1
             LLC                               Oklahoma City, OK 73156                                                           E/F
                                                                                                                                G



    2.2      Foundation                        PO Box 20709                                     Texas Capital Bank              D        2.1
             Hospital General                  Oklahoma City, OK 73156                                                           E/F
             of Houston,
                                                                                                                                G



    2.3      Foundation Surg.                  PO Box 20709                                     Texas Capital Bank              D        2.1
             Hosp. Gen. of                     Oklahoma City, OK 73156                                                           E/F
             Houston
                                                                                                                                G



    2.4      Foundation                        PO Box 20709                                     Texas Capital Bank              D        2.1
             Surgery Affiliates                Oklahoma City, OK 73156                                                           E/F
             LLC
                                                                                                                                G



    2.5      Foundation                        PO Box 20709                                     Texas Capital Bank              D        2.1
             Surgery                           Oklahoma City, OK 73156                                                           E/F
             Holdings, LLC
                                                                                                                                G




Official Form 206H                                                       Schedule H: Your Codebtors                                          Page 1 of 3
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           Case 17-42571-rfn11 Doc 90 Filed 08/04/17                           Entered 08/04/17 15:23:24              Page 45 of 47

 Debtor       Foundation Healthcare, Inc.                                               Case number (if known)   17-42571-mxm11


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.6      Foundation                        PO Box 20709                                  Texas Capital Bank          D        2.1
             Surgery                           Oklahoma City, OK 73156                                                    E/F
             Holdings, LLC
                                                                                                                         G



    2.7      Foundation                        PO Box 20709                                  Texas Capital Bank          D        2.1
             Surgery Mgmt.                     Oklahoma City, OK 73156                                                    E/F
             LLC
                                                                                                                         G



    2.8      Foundation                        PO Box 20709                                  Texas Capital Bank          D        2.1
             Surgery Mgmt.,                    Oklahoma City, OK 73156                                                    E/F
             LLC
                                                                                                                         G



    2.9      Foundation                        PO Box 20709                                  Texas Capital Bank          D        2.1
             Surgical Hosp.                    Oklahoma City, OK 73156                                                    E/F
             Mgmt. LLC
                                                                                                                         G



    2.10     Foundation                        PO Box 20709                                  Texas Capital Bank          D        2.1
             Surgical Hospital                 Oklahoma City, OK 73156                                                    E/F
             Aff. LLC
                                                                                                                         G



    2.11     Foundation                        PO Box 20709                                  Texas Capital Bank          D        2.1
             Surgical Hospital                 Oklahoma City, OK 73156                                                    E/F
             Holdings
                                                                                                                         G



    2.12     Nocturna Sleep                    PO Box 20709                                  Texas Capital Bank          D        2.1
             Therapy GP, LLC                   Oklahoma City, OK 73156                                                    E/F
                                                                                                                         G



    2.13     Nocturna Sleep                    PO Box 20709                                  Texas Capital Bank          D        2.1
             Therapy, LP                       Oklahoma City, OK 73156                                                    E/F
                                                                                                                         G




Official Form 206H                                                       Schedule H: Your Codebtors                                   Page 2 of 3
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           Case 17-42571-rfn11 Doc 90 Filed 08/04/17                           Entered 08/04/17 15:23:24              Page 46 of 47

 Debtor       Foundation Healthcare, Inc.                                               Case number (if known)   17-42571-mxm11


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.14     SDC Holdings,                     PO Box 20709                                  Texas Capital Bank          D        2.1
             LLC                               Oklahoma City, OK 73156                                                    E/F
                                                                                                                         G



    2.15     Sleep Disorder                    PO Box 20709                                  Texas Capital Bank          D        2.1
             Centers, LLC                      Oklahoma City, OK 73156                                                    E/F
                                                                                                                         G



    2.16     SomniCare, Inc.                   PO Box 20709                                  Texas Capital Bank          D        2.1
                                               Oklahoma City, OK 73156                                                    E/F
                                                                                                                         G



    2.17     Somnitech, Inc.                   PO Box 20709                                  Texas Capital Bank          D        2.1
                                               Oklahoma City, OK 73156                                                    E/F
                                                                                                                         G



    2.18     TSH Acquisition,                  PO Box 20709                                  Texas Capital Bank          D        2.1
             LLC                               Oklahoma City, OK 73156                                                    E/F
                                                                                                                         G




Official Form 206H                                                       Schedule H: Your Codebtors                                   Page 3 of 3
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          Case 17-42571-rfn11 Doc 90 Filed 08/04/17                                         Entered 08/04/17 15:23:24           Page 47 of 47




 Fill in this information to identify the case:

 Debtor name         Foundation Healthcare, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)         17-42571-mxm11
                                                                                                                                 Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                 Schedule H: Codebtors (Official Form 206H)
                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

                 Amended Schedule             A/B, D, F, and H
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          August 4, 2017                          X /s/ Richard Zahn
                                                                       Signature of individual signing on behalf of debtor

                                                                       Richard Zahn
                                                                       Printed name

                                                                       Chairman
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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